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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

DEPUTY CLERK

 

Maurice L. Whyte

Vv. No. 1:21-cv-00124
(Your Honorable Judge Kane)

C/O Rockey, C/O Folk, Director of Treatment Jeffery Hite,

Deputy Warden Glenn Irwin, of Centre County Correctional Facility

 

PETITION TO CORRECT NAME OF DEFENDANT

Plaintiff, Maurice L. Whyte, pro se, petitions this Court to correct the name of the defendant in this
action, and in support thereof avers the following:

1. Plaintiff's requested amendment will merely correct the name of the existing defendant in this
case and will not add a new party nor introduce any new causes of action against the defendant.

2. Defendants, C/O Rockey of Centre County Correctional Facility, C/O Folk of Centre County ~
Correctional Facility, Director of Treatment Jeffery Hite of Centre County Correctional Facility, :
and/or Deputy Warden Glenn Irwin of Centre County Correctional Facility will not.be.tinduly
prejudiced or surprised by this amendment-since the defendants have beenactual:partiés to the
action since its inception and prior to the running of the applicablestatute of limitations.

WHEREFORE, plaintiff, Maurice L. Whyte, respectfully requests that this Court grants plaintiff's petition
and correct the name of the defendant from CENTRE COUNTY CORRECTIONAL FACILITY, et al., to the
proper name, Defendants C/O Rockey, C/O Folk, Director of Treatment Jeffery Hite, Deputy Warden
Glenn Irwin, of Centre County Correctional Facility. ,

“Maurice L. Whyte hereby states that she is the plaintiff in this petition and that the statements of fact
made in the foregoing:petition are true and correct upon personal knowledge to the best of her
information and belief. The undersigned understands that the statements herein are made subject to
the penalties relating to unsworn falsification to authorities.

    

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oa revnn ss 700 Rishell Hill Rd.
es» Bellefonte, PA 16823
ps eB laintiff

 
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CERTIFICATE OF SERVICE

It is hereby certified that on this date March 5, 2021, (2) copies of the foregoing motion were served oin
the following individuals in the manner indicated below:

SERVICE BY MAIL:

UNITED STATES DISTRICT COURT
‘MIDDLE DISTRICT OF PENNSYLVANIA
CLERK OF COURTS

228 WALNUT S+yee+}-
HARRISBURG, PA 17108

  

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Maurice L. Whytd #20-0917
700 Rishell Hill Rd.
Bellefonte, PA 16823
Plaintiff
